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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
UNITED STATES OF AMERICA           )
                                   )               Criminal Action
          v.                       )               No. 17-10281-PBS
                                   )
DALNOVIS DELAROSA ARIAS and        )
MINERVA RUIZ,                      )
                                   )
                    Defendants.    )
___________________________________)


                         MEMORANDUM AND ORDER

                           January 11, 2019

Saris, C.J.

     Defendant Minerva Ruiz faces two charges arising from an

alleged sale of heroin on August 24, 2017. The Government’s

primary evidence at trial will be testimony from a cooperating

witness (CW) who negotiated the sale and took possession of the

heroin when the sale was complete. The Government expects that

he will testify that the defendant was present when he

negotiated the sale and that she showed him by gesture where the

drugs were hidden.

     On November 26, 2018, one week before the trial was

supposed to begin, the Government disclosed the name of the CW

to the defendant’s attorney, Scott Gleason. Upon receiving the

CW’s name, Attorney Gleason notified the Government that he

currently represents the CW in a state court proceeding to

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vacate an unrelated drug conviction. On November 29, the

Government moved to disqualify Attorney Gleason from

representing the defendant based on this conflict of interest.

     After the defendant expressed an interest in waiving the

conflict at a hearing on December 19, the Court appointed

independent counsel to represent her in making this decision.

She seemed concerned about the money she and her family had

already paid Attorney Gleason. The Court told her it would

appoint counsel if she could not afford a new attorney. After

consulting with independent counsel and her family, the

defendant informed the Court at a hearing on January 10, 2019

that she wanted to waive the conflict. The CW was also present

at the hearing, and he stated he would not agree to waive the

conflict. Immediately after the CW’s testimony declining to

waive the conflict, in an attempt to rectify the conflict,

Attorney Gleason offered in Court to cease his representation of

the CW.

     The Sixth Amendment guarantees the right of a criminal

defendant to “have the Assistance of Counsel for [her] defense.”

U.S. Const. amend. VI. This guarantee includes “the right to

have an attorney of one’s own choosing.” United States v.

Laureano-Perez, 797 F.3d 45, 55 (1st Cir. 2015) (quoting United

States v. Lanoue, 137 F.3d 656, 663 (1st Cir. 1998)). Thus,

although a defendant has the “right to conflict-free counsel,”

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United States v. Ponzo, 853 F.3d 558, 574 (1st Cir. 2017), she

may waive that right and continue the case with conflicted

counsel, Yeboah-Sefah v. Ficco, 556 F.3d 53, 68 (1st Cir. 2009).

     A defendant’s right to an attorney of her choice, however,

is not “absolute.” Laureano-Perez, 797 F.3d at 55. Because the

purpose of the Sixth Amendment is to “ensure that criminal

defendants receive a fair trial,” the right to counsel aims “to

guarantee an effective advocate for each criminal defendant

rather than to ensure that a defendant will inexorably be

represented by the lawyer whom [she] prefers.” Wheat v. United

States, 486 U.S. 153, 159 (1988) (quoting Strickland v.

Washington, 466 U.S. 668, 689 (1984)). Relatedly, “[f]ederal

courts have an independent interest in ensuring that criminal

trials are conducted within the ethical standards of the

profession and that legal proceedings appear fair to all who

observe them.” Id. at 160. Accordingly, “where a court

justifiably finds an actual conflict of interest,” as defined by

the applicable ethical rules, “there can be no doubt that it may

decline a proffer of waiver.” Id. at 162. A district court has

“broad latitude” to determine when disqualification is required.

United States v. Alfonzo-Reyes, 592 F.3d 280, 294 (1st Cir.

2010).

     Under Rule 1.7 of the Massachusetts Rules of Professional

Conduct, “a lawyer shall not represent a client if the

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representation involves a concurrent conflict of interest.”

Mass. R. Prof’l Conduct 1.7(a). A lawyer has a concurrent

conflict of interest if “(1) the representation of one client

will be directly adverse to another client; or (2) there is a

significant risk that the representation of one or more clients

will be materially limited by the lawyer's responsibilities to

another client.” Id. A lawyer may continue to represent a client

when a concurrent conflict of interest exists only if “each

affected client gives informed consent, confirmed in writing.

Id. 1.7(b)(4). Many courts have held that an attorney cannot

dump one client like a “hot potato” without consent to eliminate

a concurrent conflict of interest. See Altova GmbH v. Syncro

Soft SRL, 320 F. Supp. 3d 314, 318-19 (D. Mass. 2018) (noting

that, while the Supreme Judicial Court recently declined to

decide whether this “hot potato” doctrine applies in

Massachusetts, a number of courts have adopted it).

     Remarkably, although the issue was flagged on November 29,

Attorney Gleason continues to represent both clients. This

creates a concurrent conflict of interest. Defense counsel has

filed a challenge to vacate the CW’s only conviction in state

court. Advocating for the CW’s motion to vacate his conviction

is directly contrary to     Gleason’s duty to zealously fight for

the defendant at trial. The CW’s prior drug conviction can be

used to impeach him at trial. See Fed. R. Evid. 609.

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Furthermore, Attorney Gleason will have to cross-examine the CW

at trial, which will put him directly adverse to a client. See

Mass. R. Prof’l Conduct 1.7(a) cmt. 6. The defendant’s waiver

alone does not cure this conflict because the Massachusetts

Rules of Professional Conduct require both affected clients to

agree to waive the conflict and the CW has refused to do so. See

id. 1.7(b)(4). Attorney Gleason offered to terminate his

representation of the CW at the hearing on January 10, but

dropping one client without consent to eliminate the conflict

does not cure the ethical problem.

     Since Attorney Gleason is operating in violation of the

state ethics rules, the Court may reject the defendant’s waiver.

See Wheat, 486 U.S. at 162. The conflict here is serious. The CW

is the key witness against the defendant, and his prior drug

conviction is a powerful way to impeach him. There is a

substantial risk that Attorney Gleason’s loyalty to the CW will

impede his effectiveness in vigorously cross-examining the CW at

trial. To ensure that the defendant has an “effective advocate”

at trial and the trial is “conducted within the ethical

standards of the profession,” the Court believes that Attorney

Gleason cannot continue to represent the defendant. See id. at

159-60.




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                                  ORDER

     Accordingly, the Government’s motion to disqualify Attorney

Gleason (Docket No. 101) is ALLOWED.

SO ORDERED.



                                  /s/ PATTI B. SARIS
                                  Patti B. Saris
                                  Chief United States District Judge




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